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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTESVILLE DIVISION
   DOE et al,                                          )
   Plaintiff,                                          )
                                                       ) No. 3:22-CV-00049
   v.                                                  )
                                                       )
   MAST et al,                                         )
   Defendant.                                          )
                                                       )

                           DECLARATION OF DAMON PORTER
                  IN SUPPORT OF MOTION FOR PRO HAC VICE ADMISSION

  Pursuant to the requirements of Local Rule 6(d), I, DAMON PORTER, hereby declare as

  follows:

        1. My full name is Damon Ripley Porter.

        2. I am an attorney at Latham & Watkins LLP. My office address is 555 Eleventh Street,

           NW, Suite 1000, Washington, DC 20004. My telephone number is (202) 637-2348.

        3. I am not qualified and licensed to practice under the laws of Virginia.

        4. I am qualified and licensed to practice in the District of Columbia (D.C. Bar No.

           1617529).

        5. I have not been disciplined by any bar.

  Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

  correct.

  Dated: November 15, 2022                               /s/ Damon Porter
                                                         Damon Porter
                                                         Attorney for Plaintiffs
                                                         Latham & Watkins LLP
                                                         555 Eleventh Street, NW, Suite 1000
                                                         Washington, DC 20004
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